           Case 3:24-cv-05577-JNW        Document 14      Filed 12/20/24   Page 1 of 2




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                        UNITED STATES DISTRICT COURT
6                      WESTERN DISTRICT OF WASHINGTON
                                 AT SEATTLE
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      MARY TURNER; TYLER                          CASE NO. 3:24-cv-05577
8     CRUTCHFIELD,
                                                  ORDER
9                         Plaintiffs,

10          v.

11    SHARI'S MANAGEMENT
      CORPORATION; DOES 1-10,
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                          Defendants.
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           Fisher & Phillips LLP, Clarence Belnavis, Ryan Jones, and Orchid Tosh
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     (collectively, “Defense Counsel”) move to withdraw as counsel of record for
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     Defendant Shari’s Management Corporation (“Shari’s”) because Shari’s is “unable to
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     continue paying for legal representation[.]” Dkt. No. 12 at 2. This would typically
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     suffice as a reason to withdraw, as many courts have allowed attorneys to withdraw
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     when a client can no longer pay its legal bills. See, e.g., Bilbeisi v. Safeway, No. C22-
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     0876-JCC, 2023 WL 1778835, at *1 (W.D. Wash. Feb. 6, 2023). But to withdraw as
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     counsel of record, an attorney must comply with the technical rules in LCR 83.2(b).
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     One such rule is that “[i]f a withdrawal will leave a party unrepresented, the motion
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     ORDER - 1
           Case 3:24-cv-05577-JNW      Document 14        Filed 12/20/24   Page 2 of 2




1    to withdraw must include the party’s address and telephone number.” LCR

2    83.2(b)(1). Granting the instant withdrawal will leave Shari’s unrepresented. But

3    the motion does not include Shari’s telephone number. This is a minor deficiency,

4    but one that prevents the Court from granting the instant motion.

5          The Court thus DENIES the Defense Counsel’s motion to withdraw without

6    prejudice. Defense Counsel may submit an amended motion fixing the above-

7    discussed deficiency within 14 days of this Order.

8          It is so ORDERED.

9          Dated this 20th day of December, 2024.

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11                                                 Jamal N. Whitehead
                                                   United States District Judge
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     ORDER - 2
